Case 5:20-mj-00644-FB Document1 Filed 05/07/20 Page 1 of 4

FILED

AQYE (Rev EVEL) Criminal Complaint

 

  
 
 

vt . MAY ~ 7 2020
UNITED STATES DISTRICT COURT
for the GLERK, US, DISTRI GOURT
; WESTERN OF TEXAS
Western District of Texas BY
DEPUTY
United States of America )
Vv, )
“¢ + WJ ' - -_
Kimberly LOYA CaseNo. S'2O-MI- 6499
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
|, the complainant in this case, state that the following is true to the best of my knowledge and belief,
On or about the date(s) of October 2018 until May 2020 in the county of Bexar in the
Western District of Texas . the defendant(s) violated:
Code Section Offense Description
21 U.S.C. Section 841 (a)(1) Possession with intent to distribute 500 grams or more of a mixture or
21 U.S.C. Section 841 (b)(1)(A)(viii) substance containing a detectable amount of methamphetamine
21 U.S.C. Section 846 Conspiracy to possess with intent to distribute 500 grams or more of a
mixture or substance containing a detectable amount of methamphetamine
18 U.S.C. Section 1956 Laundering of monetary instruments

This criminal complaint is based on these facts:

See Attached Affidavit

# Continued on the attached sheet.

  
  

 

Complainant's signature

Luis De La Cruz, Special Agent

Printed name and tile

72 (_)

Jmige 's signature

Sworn to before me and signed in my presence.

Date: 05/06/2020

City and state: San Antonio, Texas Fred Biery, U.S. District Judge

Printed name and title
Case 5:20-mj-00644-FB Document1 Filed 05/07/20 Page 2 of 4

1, Luis De La Cruz. Special Agent, Drug Enforcement Administration, San Antonio, Texas,
being duly sworn, depose and state as follows:

| am an “investigative or law enforcement officer” of the United States within the meaning of
Title 18, United States Code (USC), Section 2510 (7), that is, an officer of the United States who
is empowered by law to conduct investigations of and to make arrests for offenses enumerated in
Title 18, United States Code, Section 2516.

i am currently a Special Agent with the Drug Enforcement Administration (DEA), United States
Department of Justice. I have been employed by the Drug Enforcement Administration for
approximately fourteen (14) years. | am presently assigned to the San Antonio District Office of
the DEA, and specifically the High Intensity Drug Task Force (HIDTA). My present duties
include the investigation of violations of the federal narcotics and money laundering laws by
large-scale criminal organizations within the Western District of Texas.

The WDTX began investigating Israel FERNANDEZ- Vasquez in late 2018, when CS-18-
158941! (hereinafter “CS") stated FERNANDEZ-Vasquez is a leader of a sophisticated drug
trafficking operation based in Mexico, whose efficacy is built upon a complex network of
contacts comprised of coordinators, distributors, and clients still operating in the San Antonio,
Texas, area, since FERNANDEZ-Vasquez’s deportation in May 2018.

The FERNANDEZ-Vasquez DTO has been known to law enforcement since October 2018 as an
active drug trafficking organization. At that time, the CS provided critical intelligence to
investigators regarding the drug trafficking activities of the FERNANDEZ- Vasquez organization
based in Monterrey, Nuevo Leon, Mexico. Intelligence provided by the CS indicated that
FERNANDEZ-Vasquez was a long-standing Mexican narcotics trafficker oversecing the
transportation and distribution of large quantities of cocaine, heroin, and methamphetamine into
the US, specifically into the San Antonio metropolitan area. The CS stated that he/she had been
incarcerated with FERNANDEZ-Vasquez prior to the deportation of FERNANDEZ Vasquez to
Mexico in May 2018. The CS further stated that FERNANDEZ-Vasqucz was living in the states
of Nuevo Leon and Tamaulipas, Mexico and that he was a member of the Cartel de Noreste
(CDN). Based on information provided and confirmed by DEA Laredo, investigators
determined that FERNANDEZ-Vasquez and his brothers continue to utilize the San Antonio area
as a primary domestic point of operation. Based on the extensive information provided by the
CS and DEA Laredo, investigators began and in-depth investigation into the FERNANDEZ
Vasquez organization.

The CS has been in contact with FERNANDEZ-Vasquez since October 2018. The CS was able
to contact FERNANDEZ- Vasquez and negotiate the purchase of one (1) pound of
methamphetamine from an associate of FERNANDEZ-Vasquez based in the area of San
Antonio, Texas, later identified as Roland GUSTAMANTE. The CS was shown a photographic
lineup and he/she positively identified GUSTAMANTE as the person he/she knows as ROLO.

 

' The CS met FERNANDEZ-Vasquez while in prison. CS stated that FERNANDEZ-Vasquez was deported
after completing his sentence and is now living in Monterrey, Nuevo Leon, Mexico. CS explained that
FERNANDEZ; Vazquez was a member of the Los Zetas Cartel when he was arrested, does not know what group he
is working for now.
Case 5:20-mj-00644-FB Document1 Filed 05/07/20 Page 3 of 4

On April 17, 2020, agents interviewed a cooperating defendant, from here on referred to as
(CD#1) regarding Roland GUSTAMANTE and his associates. CD#1 stated that
GUSTAMANTE was in charge of supplying CD#1 with illegal narcotics from Mexico and
coordinated the smuggling/transportation of illegal narcotics from Mexico into the United States.
CD#!I stated that GUSTAMANTE had a residence in Monterrey, Mexico that he would utilize
while conducting business in Mexico. Agents asked how the illegal narcotics would get
smuggled/transported from Mexico to San Antonio. CD#1 stated the illegal narcotics loads
would come in pickup trucks driven my various individuals within the GUSTAMANTE DTO.
CD#l stated the narcotics would be concealed in the tires, transmissions, and oil pans. Agents
then asked if the illegal narcotic loads would come directly to CD#1 or if he/she had to pick them
up. CD#1 informed agents that in the beginning. the narcotics would cross from Mexico into
Laredo, Texas, and then he/she would send some of his/her associates from San Antonio, Texas
to Laredo, Texas, to pick up the illegal narcotics load. CD#1 stated he/she would use random
people to make these trips, and he would pay those individuals one thousand ($1,000.00) dollars
per trip. CD#1 stated once the narcotics load arrived in San Antonio, Texas, he/she would direct
the vehicle to Roland GUSTAMANTE’s sister, Alexandra GUSTAMANTE'’s residence in San
Antonio, Texas, where the illegal narcotics would be off-loaded inside the garage and then taken
to the stash house used by CD#1. CD#1 further stated that they used Alexandra
GUSTAMANTE'’s residence on multiple occasions to unload the illegal narcotics, which was
coordinated with Alexandra GUSTAMANTE.

CD#1 stated that GUSTAMANTE?’s wife, who CD41 identified as Kimberly LOYA on a photo
lineup was used by the GUSTAMANTE DTO as the person who was in charge of
collecting/transporting/smuggling the bulk currency into Mexico to pay for the illegal narcotics
loads being distributed by the GUSTAMANTE DTO in San Antonio, Texas. CD#1 further
stated that Kimberly LOYA would drive a white in color Mitsubishi to collect/transport/smuggle
the narcotics proceeds from San Antonio to Mexico. The white Mitsubishi is registered to
Jennifer Loya, Kimberly LOYA’s sister. However, Kimberley LOYA and GUSTAMANTE are
the primary users of the white Mitsubishi. According to border crossing history of the white
Mitsubishi from May 2019 to January 2020. the white Mitsubishi has travelled into Mexico
approximately twenty-one (21) times. Out of the twenty-one (21) trips. Kimberly LOYA has
been an occupant of the white Mitsubishi in all twenty-one (21) trips. On June 18, 2019, CD#1
was also an occupant on the white Mitsubishi. According to CD#1, the reason he/she went to
Mexico was to meet with GUSTAMANTE's sources of supply identified as Ismael
FERNADEZ-Vasquez and Israel FERNADEZ-Vasquez. CD#1 again stated that Kimberly
LOYA routinely smuggled bulk currency for all the illegal narcotics distributed by the
GUSTAMANTE DTO in San Antonio, Texas in the white Mitsubishi. CD#1 also stated that
LOYA would sometimes pick up different amount of illegal narcotics throughout San Antonio,
Texas. and deliver them to different associates of GUSTAMANTE in San Antonio, Texas, in the
white Mitsubishi. CD#1 stated that LOYA would do all this under GUSTAMANTE’s
instructions.

Also on April 17. 2020, agents interviewed CD#2 regarding the Roland GUSTAMANTE DTO.
CD#?2 stated that he/she met Kimberly OYA approximately eight (8) times while he/she was
collecting narcotic proceeds for the GUSTAMANTE DTO. CD#2 stated that approximately four
Case 5:20-mj-00644-FB Document1 Filed 05/07/20 Page 4 of 4

(4) of the eight (8) times he/she met Kimberly LOYA at a residence located on El Paso Street in
San Antonio, Texas. According to CD#2, LOYA and GUSTAMANTE lived at the residence on
El Paso Street. GUSTAMANTE'’s driver’s license has the address of 3542 El Paso Street, San
Antonio, Texas. CD#2 then stated that on the other four (4) occasions, he/she met Kimberly
LOYA at different locations throughout San Antonio, Texas. CD#2 stated that Kimberly LOYA
drove a white Mitsubishi.

The quantities of narcotics discussed above related to Kimberly LOYA are consistent with
distribution amounts.

Based on the above facts, | believe there is probable cause that Kimberly LOYA possessed with
intent to distribute 500 grams or more of a mixture or substance containing a detectable amount
of methamphetamine in violation of Title 21, U.S.C., Sections 841(a)(1), 841(b)(1)(A)(viii) and
846 and Title 18 U.S.C., Section 1956.
